Case 2:19-cv-07390-DMG-AGR Document 152 Filed 02/18/22 Page 1 of 4 Page ID #:5152



   1   BRIAN M. BOYNTON
   2   Principal Deputy
       Assistant Attorney General
   3   Civil Division
   4   AUGUST E. FLENTJE
   5   Special Counsel
       WILLIAM C. PEACHEY
   6   Director, District Court Section
   7   Office of Immigration Litigation
       WILLIAM C. SILVIS
   8   Assistant Director
   9   SARAH B. FABIAN
       Senior Litigation Counsel
  10
       FIZZA BATOOL
  11   Trial Attorney
  12   United States Department of Justice
       Office of Immigration Litigation
  13   P.O. Box 868, Ben Franklin Station
  14   Washington, DC 20044
       Telephone: 202-616-4863
  15   Facsimile: 202-305-7000
  16   Email: fizza.batool2@usdoj.gov
  17   Attorneys for Defendants

  18
                          UNITED STATES DISTRICT COURT
  19
                        CENTRAL DISTRICT OF CALIFORNIA
  20
                              WESTERN DIVISION
  21
  22
       STATE OF CALIFORNIA, et al., )        Case No. 2:19-cv-7390 DMG(AGRx)
  23                                   )
               Plaintiffs,             )
  24                                         JOINT STATUS REPORT
                                       )
       v.                              )
  25                                         Hearing Date: Not Set
       ALEJANDRO MAYORKAS,             )
  26   Secretary of Homeland Security, )     Hon. Dolly M. Gee
       et al.,                         )     [Proposed] Order Filed Concurrently
  27                                   )
               Defendants.             )
  28
                                       )
Case 2:19-cv-07390-DMG-AGR Document 152 Filed 02/18/22 Page 2 of 4 Page ID #:5153



   1        The parties submit this Joint Status Report in light of the Court’s Order, dated
   2 December 13, 2021. See ECF No. 151.
   3      Consistent with this Court’s Order, by February 21, 2022, the parties must
   4 submit a Joint Status Report to update the Court regarding the status of the parties’
   5 negotiations as to Plaintiffs’ claims against the Department of Homeland Security
   6 (“DHS”). Id.
   7        The parties remain engaged in discussions concerning a potential resolution to
   8 Plaintiffs’ claims against DHS, but have not yet reached such a resolution. The parties
   9 continue to meet and confer and to exchange proposals.
  10        Therefore, in order to facilitate their ongoing negotiations and complete the
  11 necessary approval processes in the event of an agreement, the parties agree and
  12 propose the following:
  13        a. The parties will file a further Joint Status Report by April 22, 2022, regarding
  14           the status of the parties’ settlement negotiations.
  15        b. In the event that the parties reach a resolution on Plaintiffs’ claims against
  16           DHS, the parties will instead file a Stipulation by April 22, 2022, to notify
  17           the Court of a proposed course of proceedings based on the parties’
  18           discussions.
  19        c. In the event that the parties are unable to agree on further steps toward a
  20           potential resolution, on April 22, 2022, the parties will instead submit to the
  21           Court a Joint Status Report with proposed dates for a Case Management
  22           Conference and submission of a Case Management Conference Statement.
  23
  24 Dated: February 18, 2022
                                                     Respectfully submitted,
  25
  26 ROB BONTA                                       BRIAN M. BOYNTON
     Attorney General of California                  Principal Deputy
  27 MICHAEL L. NEWMAN                               Assistant Attorney General
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Case 2:19-cv-07390-DMG-AGR Document 152 Filed 02/18/22 Page 3 of 4 Page ID #:5154



   1 Senior Assistant Attorney General                 Civil Division
   2 VILMA PALMA-SOLANA                                AUGUST E. FLENTJE
     Supervising Deputy Attorney General               Special Counsel
   3 VIRGINIA CORRIGAN
   4 REBEKAH A. FRETZ                                  WILLIAM C. PEACHEY
   5 Deputy Attorneys General                          Director
                                                       District Court Section
   6 /s/ Julia Harumi Mass                             Office of Immigration Litigation
   7 JULIA HARUMI MASS
     Deputy Attorney General                           WILLIAM C. SILVIS
   8 Attorneys for State of California                 Assistant Director
   9                                                   SARAH B. FABIAN
                                                       Senior Litigation Counsel
  10
  11                                                   /s/ Fizza Batool
  12                                                   FIZZA BATOOL
                                                       Trial Attorney
  13                                                   United States Department of Justice
  14                                                   Office of Immigration Litigation
                                                       P.O. Box 868, Ben Franklin Station
  15                                                   Washington, DC 20044
  16                                                   Telephone: 202-616-4863
  17                                                   Facsimile: 202-305-7000
                                                       Email: fizza.batool2@usdoj.gov
  18                                                   Attorneys for Defendants
  19
  20
                               Attestation of Authorization to File
  21
       All other signatories listed, and on whose behalf the filing is submitted, concur in
  22
       the filing’s content and have authorized the filing.
  23
  24                                                   /s/ Fizza Batool
                                                       FIZZA BATOOL
  25                                                   Trial Attorney
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Case 2:19-cv-07390-DMG-AGR Document 152 Filed 02/18/22 Page 4 of 4 Page ID #:5155



   1                             CERTIFICATE OF SERVICE
   2
   3 IT IS HEREBY CERTIFIED THAT:
   4
   5 I, Fizza Batool, am a citizen of the United States and am at least eighteen years of age.
   6 My business address is 450 Fifth Street, NW, Washington, DC 20001. I am not a party
   7 to the above-entitled action. I have caused service of the accompanying JOINT
   8 STATUS REPORT on all counsel of record, by electronically filing the foregoing
   9 with the Clerk of the District Court using its ECF System, which electronically
  10 provides notice.
  11 I declare under penalty of perjury that the foregoing is true and correct.
  12
  13 DATED: February 18, 2022
  14
                                                          /s/ Fizza Batool
  15                                                      FIZZA BATOOL
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